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 Order Regarding Motion for 2255


                              UNITED STATES DISTRICT COURT
                                      NORTHERN         District of NEW YORK

         UNITED STATES OF AMERICA
                                                           ORDER ON 2255 MOTION PURSUANT TO
                                                           18 U.S.C. §§ 1028 (a)(4) and/or (a)(6) FOR
                        vs.                                CORRECTED JUDGMENT

                                                           Case
                  KEVIN HENRICUS                           Number:       5:02-CR-0068-001


       Upon the motion of the defendant for a corrected judgment based on the December 17, 2008, determination
by the United States Department of Justice, that the increased penalty provisions contained in 18 U.S.C. §§
1028(b)(1) and (b)(2) do not apply as a matter of law to convictions under 18 U.S.C. §§ 1028(a)(4) and (a)(6), and
the Court having reviewed said determination and said statutes and agreeing with the position of the United States
on this matter,


       IT IS ORDERED that the 2255 motion by defendant is granted and an amended judgment is to be
issued reflecting the offense of conviction pursuant to 18 U.S.C. §§ 1028(a)(4) and/or (a)(6) as a misdemeanor.




IT IS SO ORDERED.

April 7, 2009
Order Date
